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UNlTED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO.: 07-8013 8-CIV-MU)DLEBROOKS/JGHNSON

SAMIRA SULLIVAN, on her own
behalf and others similarly situated,

 

Plaintiff,
LANA MARKS LTD, INC., a Florida CIVIL
corporation, and LANA J. MARKS, CASE
individually
Defendants.

/

ORDER

THIS MATTER comes before the Court pursuant to a hearing held on November l6,
2007 . At this hearing, the parties Were able to settle the case and the settlement agreement Was
stated on the record Accordingly, it is hereby

ORDERED AND ADJUDGED that based on the settlment agreement recited in open
court, this case is DISMISSED WITH PREJUDICE. The Clerk of the Court shall CLOSE the
case. All pending motions are DENIED AS MGOT. The Court retains jurisdiction for the
limited purpose of enforcing the settlement agreement

DONE AND ORDERED in Chambers, West Palm Beach, Beach County, Florida,

this iday of November, 2007 .

 

 

BGNALD M. MIDDLEBROOKS
UNITED sTATEs DISTRICT JUDGE

Copies to counsel of record

